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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                            JACKSONVILLE DIVISION

   UNITED STATES OF AMERICA

   v.                                   Case No.:      3:06-cr-212-J-33MCR

   THOMAS D. KING
   ____________________________/

   UNITED STATES OF AMERICA

   v.                                    Case No.:     3:07-cr-90-J-33JBT

   DONALD E. TOUCHET
   ____________________________/

                                      ORDER

         This matter is before the Court pursuant to the United

   States’ Motions for Order Regarding the Issuance of Checks in

   Payment of Victim Restitution (Doc. ## 383, 620), filed in the

   aforementioned       cases   on   September   23,   2010.    After    due

   consideration, and for the reasons stated by the Government in

   the Motions, the Court grants the Motions.

         Accordingly, it is hereby

         ORDERED, ADJUDGED, and DECREED:

   (1)   The   United    States’     Motions   for   Order   Regarding   the

         Issuance of Checks in Payment of Victim Restitution (Doc.

         ## 383, 620) are GRANTED.

   (2)   The Clerk is directed to issue two checks, totaling

         $25,000, as follows:

         A.    $21,250.00 payable to Aaron Anthony Panos
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         B.    $3,750.00 payable to the Law Office of Carter and

               Clendenin.

   (3)   The above-referenced checks should be mailed to the

         following address:

               Law Office of Carter and Clendenin

               7419 U.S. Highway 19

               New Port Richey, Florida 34652

         DONE and ORDERED in Jacksonville, Florida, this 27th day

   of September 2010.




   Copies: All Counsel and parties of Record




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